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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Bill A. Busbice Jr., et al.
                                   Plaintiff,
v.                                                     Case No.: 1:17−cv−01640
                                                       Honorable Andrea R. Wood
Adrian Vuckovich, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 27, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held.
Pursuant to the discussion held in open court, by 3/6/2018, Defendants may file a response
to Plaintiff's motion to compel [92]. Defendants' response shall not to exceed five pages in
length. Plaintiff's motion to compel [92] is continued to the next status hearing. Status
hearing set for 3/8/2018 at 9:00 a.m. [78] is stricken and reset for 3/8/2018 at 10:00 AM.
TIME CHANGE ONLY. Mailed notice(ef, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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